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Acting United States Secretary of Labor




                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                                PORTLAND DIVISION



JULIE A. SU, Acting Secretary of Labor, United         Case No.
States Department of Labor,

                                Plaintiff,             COMPLAINT
               v.                                      Violations of Fair Labor Standards Act
                                                       (“FLSA”), 29 U.S.C. §§ 201, et seq.
LBB PROGRESS RIDGE, LLC, an Oregon
Corporation; AMERGENT HOSPITALITY
GROUP INC, a Delaware Corporation; FRED
GLICK, an individual; MIKE PRUITT, an
individual; and ADRIAN OCA, an individual,

                                Defendants.



                                 NATURE OF THE ACTION
       1.      Plaintiff JULIE A. SU, Acting Secretary for the U.S. Department of Labor (“the
Acting Secretary”), is charged with enforcing the FLSA to eliminate “labor conditions detrimental
to the maintenance of the minimum standard of living necessary for health, efficiency, and general
well-being of workers[.]” 29 U.S.C. § 202(a). In bringing actions under the FLSA, the Acting
Secretary represents not only the interest of the individual employees affected by an employer’s


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violations of the law, but also the public interest, including the interests of employers whose ability
to compete in compliance with the law is harmed by employers who subsidize their operations by
unlawfully keeping employee tips.
        2.     Plaintiff brings this action pursuant to Section 16(c) of the FLSA, 29 U.S.C. §
216(c), to recover tip amounts owed under the FLSA to employees of Defendants, as listed by
name in the attached Exhibit A to this Complaint, for the period of February 16, 2019, through
February 15, 2022, together with an equal amount as liquidated damages, as well as civil money
penalties.
        3.     Plaintiff also seeks relief pursuant to Section 17 of the FLSA, 29 U.S.C. § 217, and
the Court’s inherent authority, to permanently enjoin Defendants from violating the FLSA in the
future, including violations of Defendants’ recordkeeping obligations under Sections 11(c) and
15(a)(5), 29 U.S.C. §§ 211(c) and 215(a)(5), and violations of 29 U.S.C. § 203(m)(2)(B)’s
proscription against keeping tips received by employees.


                                         JURISDICTION
        4.     This Court has subject matter jurisdiction over this action under Sections 16 and
17 of the FLSA, 29 U.S.C. §§ 216, 217; this Court also has subject matter jurisdiction over this
action under 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1345 (United States as
Plaintiff).
        5.     Venue lies in the United States District for the District of Oregon, pursuant to 28
U.S.C. § 1391(b), because the events giving rise to the claims occurred within this District.


                                          DEFENDANTS
        6.     Defendant LBB Progress Ridge, LLC, d/b/a Little Big Burger (“Little Big
Burger”) is and at all relevant times has been a corporation in the state of Oregon with a principal
place of business at 12345 SW Horizon Boulevard, Beaverton, OR 97007, within the jurisdiction
of this Court, and has been engaged in the restaurant business. Defendant Little Big Burger
operates a chain of restaurants including the following locations (hereinafter “Locations”):

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                •   Alberta: 2038 NE Alberta Street, Portland, OR 97211
                •   Division: 3810 SE Division Street, Portland, OR 97403
                •   Eugene: 1404 Orchard Street, Eugene, OR 97403
                •   Lake Oswego: 3 Monroe Parkway, Suite T, Lake Oswego, OR 97035
                •   Multnomah Village: 7707 SW Capitol Highway, Portland, OR 97219
                •   NW 23rd: 930 NW 23rd Ave, Portland, OR 97210
                •   Orenco Station: 940 NE Orenco Station Loop, Hillsboro, OR 97124
                •   Progress Ridge: 12345 SW Horizon Boulevard #41, Beaverton, OR 97007
                •   S Waterfront: 3704 SW Bond Avenue, Portland, OR 97239
        Defendant Little Big Burger also formerly operated restaurants at the following locations:
                •   Capitol Hill: 1200 E Pike Street, Suite 101, Seattle, WA 98122
                •   Hawthorne: 2028 SE Hawthorne Boulevard, Portland, OR 97214
                •   Lloyd District: 787 NE Holladay Street, Portland, OR 97232
                •   Mississippi: 3747 N Mississippi Avenue, Portland, OR 97227
                •   Pearl: 122 NW 10th Avenue, Portland, OR 97209
        7.      At all relevant times, Defendant Little Big Burger employed workers, including
employees named in Exhibit A, as front-of-the-house staff at its restaurant Locations.
        8.      At all relevant times, Defendant Little Big Burger is and has been an employer
within the meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d), in relation to the employees
listed on Exhibit A to this Complaint. The claims against Defendant Little Big Burger in this
case arise out of and are directly related to its business activities in the jurisdiction of this Court.
        9.      Defendant Amergent Hospitality Group Inc. is and at all relevant times has been a
publicly traded corporation incorporated in the state of Delaware with a principal place of
business at 7529 Red Oak Lane, Charlotte, North Carolina 28226. Amergent Hospitality Group
is in the business of owning and operating fast casual dining restaurants, including Little Big
Burger. At all relevant times, Defendant Amergent Hospitality Group Inc. is and has been an
employer within the meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d), in relation to the
employees listed on Exhibit A to this Complaint. The claims against Defendant Amergent

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Hospitality Group Inc. in this case arise out of and are directly related to its business activities in
the jurisdiction of this Court.
        10.      At relevant times, Defendant Michael (“Mike”) Pruitt was a managing member of
Little Big Burger and chief executive officer of Amergent Hospitality Group Inc. Defendant
Pruitt has acted directly and indirectly in the interests of Little Big Burger in relation to its
employees, including determining employment practices. Defendant Pruitt is individually liable
as an employer under Section 3(d) of the FLSA, 29 U.S.C. § 203(d), in relation to the employees
listed on Exhibit A to this Complaint. The claims against Defendant Pruitt in this case arise out
of and are directly related to his business activities in the jurisdiction of this Court.
        11.      At relevant times, Defendant Fred Glick was the President of Amergent
Hospitality Group Inc. and has acted directly and indirectly in the interests of Little Big Burger
in relation to its employees, including determining employment practices. Defendant Glick is
individually liable as an employer under Section 3(d) of the FLSA, 29 U.S.C. § 203(d), in
relation to the employees listed on Exhibit A to this Complaint. The claims against Defendant
Glick in this case arise out of and are directly related to his business activities in the jurisdiction
of this Court.
        12.      At relevant times, Defendant Adrian Oca was brand leader for Amergent
Hospitality Group Inc. and acted directly and indirectly in the interests of Little Big Burger in
relation to its employees, including determining employment practices. Defendant Oca is
individually liable as an employer under Section 3(d) of the FLSA, 29 U.S.C. § 203(d), in
relation to the employees listed on Exhibit A to this Complaint. The claims against Defendant
Oca in this case arise out of and are directly related to his business activities in the jurisdiction of
this Court.


              DEFENDANTS ARE AN ENTERPRISE COVERED BY THE FLSA
        13.      At all relevant times, Defendants Little Big Burger, Amergent Hospitality Group
Inc., Mike Pruitt, Fred Glick and Adrian Oca owned, operated, and/or controlled Little Big
Burger for the common business of running restaurants in the state of Oregon.


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       14.     Defendants’ activities constitute, and at all times material hereto have constituted,
related activities performed through unified operation or common control for a common business
purpose; and are, and at all times material hereto have been, an “enterprise” as defined in the
FLSA § 3(r), 29 U.S.C. § 203(r).
       15.     The aforesaid enterprise has, and at all times material hereto has had, employees
engaged in commerce or in the production of goods for commerce, or in handling, selling or
otherwise working on goods or materials which have been moved in or produced for commerce.
Said enterprise has, and at all times material hereto has had, an annual gross volume of sales
made or business done (exclusive of any excise taxes at the retail level, if any, that were
separately stated) of no less than $500,000.00; and said enterprise constitutes, and at all times
material hereto has constituted, an “enterprise engaged in commerce or in the production of
goods for commerce” as defined in the FLSA § 3(s), 29 U.S.C. § 203(s).


                             FACTS REGARDING VIOLATIONS
       16.     During the relevant time period, Defendants unlawfully required employees at its
Locations to share a portion of their tips with managers who are considered “managers” or
“supervisors” as defined under 29 C.F.R. § 531.52 since their duties matched those of an
executive employee as described in 29 C.F.R. § 541.100(a)(2) through (4).


                         CLAIM FOR RELIEF (TIP VIOLATIONS)
       17.     The Acting Secretary realleges and hereby incorporates by reference the
foregoing paragraphs as though fully set forth herein.
       18.     Defendants have violated the provisions of Section 3(m)(2)(B) of the FLSA, 29
U.S.C. § 203(m)(2)(B), by allowing its managers to keep tips received by employees.
       19.     At all relevant times, Defendants have willfully violated Section 3(m)(2)(B) of the
FLSA, 29 U.S.C. § 203(m)(2)(B). Defendants knew or should have known of the FLSA’s
prohibition against an employer keeping tips received by employees but continued to collect tips
earned by employees anyway.

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                                       PRAYER FOR RELIEF
       WHEREFORE, good cause having been shown, the Acting Secretary prays for judgment
against Defendants as follows:
       1.      For an Order under Section 17 of the FLSA, 29 U.S.C. § 217, and pursuant to the
Court’s inherent authority, permanently enjoining and restraining Defendants, their officers,
agents, servants, employees, and those persons in active concert or participation with them from
prospectively violating the FLSA, including Sections 3(m)(2)(B), 11(c) and 15(a)(5), 29 U.S.C.
§§ 203(m)(2)(B), 211(c), 215(a)(5).
       2.      For an Order under Section 16(c) of the FLSA, 29 U.S.C. § 216(c) finding
Defendants liable for all tip compensation earned, from at least February 16, 2019 to February
15, 2022, to all of Defendants’ employees including the employees listed in attached Exhibit A
and other employees not presently known to the Acting Secretary, and an additional equal
amount as liquidated damages, as well as civil money penalties;
       3.      For an Order providing such further legal and equitable relief as may be deemed
necessary or appropriate; and
       4.      For an Order awarding the Acting Secretary the costs of this action.
       5.      For an Order awarding the Acting Secretary any other legal or equitable relief that
the Court deems necessary and appropriate.

Dated: May 1, 2024                           SEEMA NANDA
                                             Solicitor of Labor

                                             MARC A. PILOTIN
                                             Regional Solicitor

                                             KATHERINE E. CAMERON
                                             Associate Regional Solicitor

                                             /s/ Andrew M. Katz
                                             Andrew M. Katz
                                             Senior Trial Attorney

                                             Attorneys for the Plaintiff
                                             U.S. Department of Labor


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                                  EXHIBIT A

       Last Name       First Name
1           Adams         Julia
2        Aguilar        Andrew
3     Aguilar-Bello      Henry
4     Aguilar-Ramos     Daisy E
5       Albrecht       Alexandra
6       Albrecht       Maximilian
7           Allen         Luke
8           Allen       Shatoya
9           Alvord     Maxwell P
10   Ambrosio-Ouano    Christian A
11    Amor-Mashino     Teeshawna
12      Anderson         Martin
13          Angel        Ailyn
14          Anglin        Bella
15           Apte        Varun
16      Armsbury        Nikaela
17     Armstrong       Christopher
18           Atos        Gavin
19          Ayala        Myrka
20           Baca        Adam
21           Bacu        Adam
22          Badillo      Oscar
23          Banta        Griffin
24          Barnes       Jacob
25          Barnes       Noah


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26      Barrientes      Jacklynn
27          Batten       Elsa E
28       Bautista       Rogelio
29       Bautista       Belizario
30       Bautista        Tania
31          Beath        Emilie
32          Beaver      Anaya V
33           Beck       Douglas
34          Becker      Tyrone
35          Belinn     Alexandria
36       Bellews          John
37          Belov        Nadia
38           Belz            Jake
39      Ben-Israel           Zev
40       Bennett         Kiara
41          Benton       Joseph
42     Best McCoy      Cheyenne
43     Betancourt       Vanessa
44     Biederman         Alice
45          Bilaniv     Nick A
46          Black       Kaleb M
47          Black        Kayla
48           Bliss      Keegan
49          Bohra        Anya
50          Booth        Clara
51          Booth        Peyton
52      Bradford         Olivia


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53       Bradley          Kevin
54          Brand            Lily
55          Braun         Grace
56          Briggs       Hunter
57       Brisbois       Andrea J
58          Brown        Rachel
59      Browning         Ashley
60   Brown-Ruppenthal   Dominic
61          Bryan         Neal
62          Burck        Emma
63          Burns        Andrew
64       Burreson        Mikayla
65          Burton       Samuel
66          Burton        Dylan
67          Cain        Alexandra
68          Camp          Emily
69     Can-Vazquez      Alejandro
70           Cao         Andrew
71          Carder       Jennifer
72       Cardwell        Cassidy
73          Carper           Eric
74       Carrizal        Susana
75          Carter       Emma
76          Carter      Dominic O
77     Cartusciello      Robert
78       Cassidy         Thomas
79      Castillero       Fabiola


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80         Castner         Wayne M
81          Casto          Amberlin
82          Castro          Samuel
83        Chambers          Heather
84        Chappel           Willow
85        Chappell          Robert
86        Charley        Francien Marie
87    Chavez McCormack      Rowan
88          Child          Madeline
89       Christensen         Shaun
90          Clark             Jeff
91          Clouse         Matthew
92        Cloward             Liam
93          Coghill           Anna
94           Cole           Taylor
95        Colligan          Jacob M
96          Collins           Zoe
97        Connelly          Gannon
98          Connor          Eamonn
99        Conway         Daniel Oliver
100         Cook            Nile W
101         Cook               Ian
102         Cook           Benjamin
103         Cooper         Jonathan
104         Cooter            Jacob
105       Cornejo            Isabel
106      Crittenden        Matthew


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107       Cropper         Julia M
108         Cross        Katherine
109         Cross             Eric
110         Crouse         Forest
111       Crowell        Cameron
112    Cruz-Alvarado      Gelacio
113     Curiel Reyes      Gabriel
114         Curtin        Jackson
115         Cusick            Ethan
116         Cyders            Jason
117         Czuba             Sally
118         Daga          Sidharth
119         Dailey       Brandon
120         Dailey        Jordan
121       Darling         Austin
122         Dattilo       Andrew
123         Dattilo       Emma
124         Davis             Rory
125     De La Cruz            Jenna
126    De Lay-Brooks      Kathryn
127       DeBarro             Anna
128         Decker            Iain
129       Dejesus             Esai
130       Delgado         Amelia
131     Dempewolf             Alex
132      Dempsey              Mak
133      Dinsmore         Mason


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134       Donnell          Ocean
135      Donovan              Nick
136         Dowd           Ashley
137      Downing          Jackson
138      Dreeszen             Ciara
139       Duckett         Lane M
140          Dull             Ariah
141         Duong             Bao
142         Dyal              Lucy
143          Eby         Mckenzie
144       Edwards              Jay
145         Eliot         Drew T
146         Elliott        Simon
147      Escalante        Cristobal
148      Escalona         Elijah A
149         Evens          Cassel
150      Fardanesh        Andrew
151         Fiarito       Carmen
152       Fimbres         Richard
153       Fimbres         Breanna
154       Finegan       Jason Patrick
155         Firpo          Alexis
156         Fitch         Georgie
157         Fitch          Jasmin
158      Fitzpatrick       Grace
159         Fleck         JeanElie
160     Fleischman            Kalea


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161      Fleishman         Colbey
162         Flores         David
163         Flores        Jonathan
164         Foley         Michael
165         Folino        Matthew
166         Forker         Tiffany
167         Frasier       William
168       Fretwell       Chelsea N
169      Friedman             Sage
170          Friis         Daniel
171         Frisbie       Steven E
172      Froblom         Christiane
173       Fuentes          Carlos
174         Fuller        Christian
175      Ganellen       Sierra Estelle
176         Garcia        Richard
177         Garcia         Charles
178         Garcia        Valencia
179         Garner        Stephani
180   Gaspar Guzman           Anna
181         Gates          Aaron
182          Gil              Meka
183         Gilmer        Kyle W.
184         Girard         August
185      Globisch             Paul
186      Goggans           Eric D
187         Going        Madison E


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188          Gold          Jarrett
189         Golder         Jordan
190      Gonsalves        Nicolas
191      Gonzalez             Jose
192      Gonzalez         Cristian
193         Good           Nolan
194         Gouge          Hayes
195      Gravelle         Hannah
196      Grealish        Katarina M
197         Green          Luquaz
198         Greene      Jamie Charles
199         Gregg          Aiden
200         Gremel        Andrew
201         Grenz          Arielle
202         Grimm          Briton
203      Grissom           Grady
204         Groh         Christina E
205         Gustin         Kaitlyn
206         Haack             Ruby
207          Haas          Jariah
208       Habeck              Heidi
209       Habtom           Yoska
210         Hagan         Jessica J
211      Halvorson         Haley
212 Hamilton-Woodward     Renae E
213      Hamling              Jacob
214       Hanson           Olivia


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215         Hartley            Mira
216         Hassan            Ugbad
217           He             Xiao Yao
218          Head             Emma
219         Heath              Chase
220         Heiden             Rory
221       Hendricks          Miranda
222       Hendricks            Andy
223         Henry             Elan A
224   Hernandez-Ishikawa       Saira
225        Hewlett            Taylor
226         Higuet             Emily
227          Hill              Ethan
228           Ho              Enoch
229           Ho              Joshua
230         Hoefer           Rhiannon
231          Hoff              Lance
232         Holder           Katherine
233     Hostetter Smith        Zasu
234        Houston            Koryn
235         Howe             Benjamin
236         Hristov           Wintre
237          Hua              Brittany
238        Hubbard            Peyton
239         Huesca           Leonardo
240        Hughes            Bergen M
241       Humphrey         Noah Benjamin


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242     Huntington        Andrew
243      Hutchings         David
244         Inman          Brady
245         Ivanor        Dimitri
246       Jackson        Alexandria
247         James          Lora J
248      Jaramillo        Micayle
249         Jardin        Stephen
250      Jennings         Taylor
251         Jensen            Hope
252          John             Colin
253       Johnson        Dorothea
254       Johnson          Gavin
255       Johnson        Madelaine
256       Johnson         Andrew
257         Jones         Zane C
258         Jones             Saki
259         Jones        Kelyn L.
260         Jones             Juliet
261         Joyce         Lauren
262         Jurries     Christopher
263     Kabeiseman        Fredric
264         Kaidan        Stephan
265      Kaopuiki         Franklin
266         Kelly             Finn
267      Kennedy           Ellora
268          Kerr        Benjamin


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269   Keymolen Gomez      Moises
270          Kim              John
271      Kiriakedis       Masami
272      Kitayama         Annika
273       Kitchen        Kristopher
274          Klas         Allison
275          Ko           Christie
276         Kraft             Kyle
277         Krantz       Christian
278         Lamb              Cole
279      Lambert       Jeremy William
280         Lampe        Graham M
281     Langenfeld        Michael
282       Lazzara          Robert
283          Le            David
284          Lea          Joseph F
285         Leano             Elae
286          Lee          Mary K
287          Lee         Raymond
288         Lefur         Hayden
289         Lenox          Bodhi
290       Leveille        Rachel
291         Leyson        Jonathan
292     Lhommedieu            Dane
293       Lindsay          Kyran
294          Liu          Camellia
295          Liu              Dalia


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296       Lohman               Tia
297       Lommen              Max
298       Lommen           Mason
299         Love              Maris
300      Lowcock         Brooklynn
301         Lyons       Azhya Nariah
302         Maas           Emma
303      Macmillan         Carlin
304      Macmillan       Anderson
305    MacWilliamson      Phoenix
306         Mair           David
307       Manning        Juleanna R
308       Manning             Via
309       Manning             Sabri
310      Manuguid         Matthew
311    Marquez Flores      Maria
312         Martin         Colby
313         Martin        Philip A
314       Martinez        Serena A
315      Maruyama        Yukimasa
316       Mayhak          Shareya
317       Mcbryde         Kamari
318       Mccabe        Margaret L.
319     Mccampbell         Trevor
320       Mcclain        Mary Jane
321      Mcdonald         Regis J
322      Mcdonald             Tyler


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323      Mcdonald             Evan
324         Mcgee         Kelly M
325         Mcgee          Briana
326     McGilberry            Grant
327      Mcgough         Alejandro
328      McGowan         Jaisha-lee
329      Mckenzie          Simon
330      Mckenzie          Aallan
331      Mcknight        Christopher
332      Mcnamee           Claire
333       Mcnealy          Joseph
334         McVay          Kaylie
335         Mead          Angeline
336      Medeiros          Chloe
337       Medina         Victoria A.
338       Medina              Mark
339       Mekkers          Jeffrey
340         Melz              Andy
341       Menashe          Daniel
342   Mendoza-Bautista        Luis
343         Merritt        Kirsten
344         Merten         Henry
345         Mervar         Aiden
346         Meyers        Bradley
347       Michael             Sara
348       Michele             Pace
349      Michtom           Daniel


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350    Mijalski-Fahim   Gabby Despina
351         Mike          Zachariah
352         Miller         Ashlyn
353         Miller         Isabella
354         Miller      Mackenzie A
355       Miranda         Sebastian
356   Miranda Morales     Jacqueline
357       Mitchell        Harmony
358         Moffat         Spencer
359         Moller        Matthew
360      Mompho           Madison
361       Monetti             Zac
362      Montanez          Ricardo
363     Moorhouse         Madison
364         Moran          Dillon
365       Morford         Acacia L
366      Mulgado              Jorge
367         Muniz          Adrian
368       Munson            Robin
369         Murray            Kris
370         Myers          Camas
371       Naranjo          Mariana
372       Navarro          Antonio
373         Nelson            Jane
374         Nelson          Bryce
375       Nguyen           Yvan T
376       Nguyen            Bryan


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377       Nguyen              Loc
378       Nguyen         Michelle
379       Nguyen         Elizabeth
380       Nguyen          James
381      Nicholson            Jacob
382       Nickson        Damarte
383         Nidoy             Davis
384         Nieves        Ernesto
385      Nimelman         Lucas
386         Nolan             Zoey
387         Nolan             Lucy
388       Norman          Greg D
389      Nowacki          Alyssa
390       O'Brien         Gillian
391      Odonnell             Ryan
392      O'Donnell        Jayden
393      Ohalloran       Sebastien
394         Okeefe            Liam
395      Oldenburg       Rebekah
396         Onaitis       Kaitlin
397         Oneil        Samuel H
398      Osborne         Ashleigh
399    Oudomphong             Leo
400         Owens         Nathan
401         Owens             Lucy
402          Page             Laura
403         Palaca       Giuliana


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404         Palmer       Erique W
405   Paniagua-Aguilar    LillianaI
406   Parham-Williams     Ayla B
407         Parisi        Joshua
408         Parker       Courtney
409     Pasaye-Elias      Marissa
410      Pataroque         Kevin
411         Pavlas            Pan
412         Pavlas       Christiana
413      Pavlenko          Leana
414         Payne          Kaleb
415       Pearson             Tyler
416      Pedegana             Lola
417    Penaloza-Vega      German
418          Peril       Katherine
419         Perry             Sarah
420         Peters            Esme
421       Petersen            India
422       Peterson            Karla
423         Pethick       Isabella
424         Picton        Sophie
425          Pine        Gabrielle
426          Pittel      Sara-Grace
427          Pitts       Roland W
428     Platt-Devlin      Samuel
429       Ploghoft         Logan
430          Poe          Oryanna


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431         Ponce          Rubuen
432         Porter       William R
433       Poulson         Richard
434       Pulliam          Kyrae
435    Pytynia-Hillier     Grace
436         Quach          Emma
437         Quach             Zoe
438         Raber          Nathan
439         Rader          Natalie
440         Rader          Claudia
441      Ramsdell        Cory Joshua
442         Rapp              Sarah
443     Rasmussen             Cody
444         Raspet         Eliana
445         Reich         Clayton
446         Reimer        Maximus
447         Rejab         Benjamin
448         Reyes          Ashley
449      Reynolds          James
450      Reynolds        Thomas N
451      Reynolds          Olivia
452       Richards         Caden
453       Rinehart            Liam
454         Ritchie        Elliana
455       Robbins         Courtney
456      Robertson        Michael
457         Rogers        Nicholas


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458       Romero          Shiloh D.
459          Ross          Martina
460       Rousing             Jack
461          Ruiz          Amanda
462       Runnion          Stormy
463         Russell        Fionna
464         Ryan           Michael
465    Saborit-Gausch       Kevin
466         Saccio      Michael Joseph
467       Salgado             Alex
468       Salgado         Cheyenne
469       Sanchez             Bird
470       Sanchez             Alina
471       Sanders          Natasha
472     Saylor-Reiss          Sadie
473      Schaeffer          Corey
474     Schlesinger        Canaan
475       Schmitt          Rachel
476      Schofield         Morgan
477         Scopes         Atticus
478          Scott            Ethan
479       Scruggs         Napoleon
480       Seagren             Justin
481      Seawright        Samuel J
482         Secor          Katie M
483          Self          Nathan
484         Sevey         Christian


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485      Shaaban          Samuel
486      Shannon          Megan
487         Shaw          Dehlia
488       Shepard         Rowan
489      Shepherd         Kalani
490      Sherman              Hugh
491         Shim          Konner
492         Shim          Kenneth
493         Shirer            Kyle
494         Shuey        Elizabeth
495         Silva         Mateo
496      Silverberg      Benjamin
497       Sinclair       Zachary X
498      Skalbeck         Rachael
499         Skye         Taylor A
500         Sloop         Oscar O
501         Smith       Christopher
502         Smith         Keaton
503         Smith         Brianna
504         Snell        Samantha
505          Son          Emily
506          Soo              Jared
507      Squatrito        Gianelli
508         Stark        Benjamin
509         Starr         Hayden
510         Steiert       Kaitlyn
511    Stone-Feldman          Ella


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512         Stout        Logan M
513         Streit      Mackendra
514         Stubbs            Deja
515         Stubbs        Natasha
516      Sturgeon         Andrew
517          Sun        Christopher
518          Sun          Jeffery
519       Swiberg             Jacob
520         Sylla        Younoussa
521         Takara        Alexis
522         Thake             Jack
523      Thompson             Ava
524         Tibray            Miles
525       Tidwell         Robert
526         Tillery           Joy
527         Tindell      Cameron
528         Tipton       Harrison
529         Tokos        Samantha
530         Torres            Abel
531         Torrey        Atticus
532          Tran             Tuan
533          Tran        Bao-Truc
534         Trapp        Ash Dyan
535     Treasarden        Samuel
536         Troyer        Jessica
537         Tsitko        Nikita
538         Tucker        Robert


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539         Tuffli            Jace
540         Turner            Ava
541       Ugonna          Nnamdi
542      Unsinger             Kyle
543      Van Vleet        Jillian
544      Van Zandt            Antal
545         Varcoe            Drew
546      Vazquez          Alfredo
547       Vincent             Sims
548         Vitatoe      Samantha
549         Voeller           Noah
550      Waehrer          Charlie
551         Wagar        Annabelle
552         Wales         Geran
553         Wang              Lulu
554         Warren            Trae
555       Watkins         Zachary
556       Watson              Vita
557         Wear          Brady
558      Wetlesen             Shota
559       Whalen              Alex
560       Whaley          Daniel
561         White         Dean R
562      Whittum              Edan
563       Wilkins       Hannah Jean
564         Wilson        Daniel
565         Wilson            Lilly


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566         Wilson        Chloe A
567         Wilson        Bethany
568       Winters             Percy
569         Wise              Ryan
570         WItten        Isaiah
571         Wood          Gregory
572         Woods         Daniel
573         Wroten        Amber
574          Wu           Janina
575     Wyszynski         Joseph
576         Yilmaz            Julia
577         Young             Ethan
578         Zenka         Aidan
579       Zhuang          Barton
580       Zurcher         Karlee
581         Zylstra           Jake




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